4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 1 of 20




                          EXHIBIT 1




 PROCESS AND PLEADINGS FILED IN THE
        STATE COURT ACTION
    4:21-cv-00318-SAL                       Date Filed 02/02/21                     Entry Number 1-1                      Page 2 of 20


                                                                                                     
                                                                                                        
                                                                                                   
                                                                                                            
               ! " " 
              # $ %   & " 
               ' ()* '
              +,(*% -

                         

          # $ %   & "  ./    0 .#                        1"2 '""3 0
              # $ %   41 .   0




                         !"              #   $ "              # !  % "  &

                                      5  / 44 4"!6716# $ %   & "  #!"6
$% '(                                -
$ )"                                       '&2!
                                                 1 8  
 $                                       1 4 9 -:24  441 
 &#%          &                   & "  '1"  4              '
   #$                            "! ;4   & 1" $  
*$                                '     ":  4
        & $                          '&2!
      "'( ) '(                           '&2!
   %                                     :1 " ": 2 " 4             (" #"3  %<&2"                   #"3
                                                 

                                                 9   '*

                                                 % 4       "!2"     76 = $- 62

                                                 % 4       "!2"    4         6 4          = $- 62

                                                 % 4       "!2"  >4 ?:" >46?:" = $- 62

                                                 % 4       "!2"  2$ >        4" 2: 416       4"= $- 62

                               & "  '1"
                                                         
                                                  
                                                      
                                                 --@@
                                                 ' ": =A 4"1$4 A62
: !  "  2 "  ":1 1 ""4 1 & 7   !  B 2$ !2 46 9"  1  " 2 1"" "  4 4 &   1:   4  " ":A1 
4  1 " ": "  ! 2"  ":       " !   1 ": 1A "   ": !  "  2 "  ": 24   2        "16 : 2&".10
 ! ":1 !    1 1& 14 !  7A  "&" ": 24   2    "1  "$ && &" 2"  24  2 1 4" A": "1 4 4  ":




                                                                                                       !   ,C
  4:21-cv-00318-SAL                         Date Filed 02/02/21                       Entry Number 1-1                      Page 3 of 20


                                                                                                       
                                                                                                          
                                                                                                     
                                                                                                              
             ! " " 
            # $ %   & " 
             ' ()* '
            +,(*% -

                        

        # $ %   & "  ./    0 .#                           1"2 '""3 0
            # $ %   41 .   0




71 1 1 2116  124 1 44 44" !  ": !  "  2 "  ":1 !   24  !     11 1  22 21 ":"     2 "
":6




                                                                                                          !   ,C
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 4 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 5 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 6 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 7 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 8 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 9 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 10 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 11 of 20
4:21-cv-00318-SAL   Date Filed 02/02/21   Entry Number 1-1   Page 12 of 20
    4:21-cv-00318-SAL          Date Filed 02/02/21       Entry Number 1-1          Page 13 of 20




                                                                                                          ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
STATE OF SOUTH CAROLINA             )                  IN THE COURT OF COMMON PLEAS
                                    )
COUNTY OF FLORENCE                  )                 FOR THE TWELTH JUDICIAL CIRCUIT
                                    )
                                    )
Jeremy Fullard,                     )                  CIVIL ACTION FILE NO.:
                                    )
                    Plaintiff,      )
                                    )
              v.                    )                                 SUMMONS
                                    )                             (Jury Trial Demanded)
Duke Energy Corporation,            )
                                    )
                    Defendant.      )
                                    )
___________________________________ )

               YOU ARE HEREBY SUMMONED and required to answer the Complaint in this

action, a copy of which is herewith served upon you, and to serve a copy of your Answer to the said

Complaint on the Plaintiff's attorneys, Walker Morgan, LLC at their office located at 135 East Main

Street, Lexington, South Carolina, 29072, within thirty (30) days after the service hereof, exclusive

of the day of such service, and if you fail to answer the Complaint within the time aforesaid, judgment

by default will be rendered against you for the relief demanded in the Complaint.

                                                       WALKER LAW, LLC
                                                       s/ William P. Walker, Jr.
                                                       William P. Walker, Jr., Esquire
                                                       SC Bar No. 005796
                                                       135 E. Main Street (29071)
                                                       Post Office Box 949
                                                       Lexington, South Carolina 29072
                                                       Telephone: (803) 359-6194
                                                       Facsimile: (803) 957-4584
                                                       Email: bw@walkerlaw.org

                                                       Attorney for Plaintiff
Lexington, South Carolina

January 4, 2021
    4:21-cv-00318-SAL         Date Filed 02/02/21      Entry Number 1-1      Page 14 of 20




                                                                                                     ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
STATE OF SOUTH CAROLINA             )                IN THE COURT OF COMMON PLEAS
                                    )
COUNTY OF FLORENCE                  )                FOR THE TWELTH JUDICIAL CIRCUIT
                                    )
                                    )
Jeremy Fullard,                     )                CIVIL ACTION FILE NO.:
                                    )
                    Plaintiff,      )
                                    )
              v.                    )                                COMPLAINT
                                    )                            (Jury Trial Demanded)
Duke Energy Corporation,            )
                                    )
                    Defendant.      )
                                    )
___________________________________ )

       Plaintiff, JEREMY FULLARD, above-named, complaining of the Defendant, DUKE

ENERGY CORPORATION, herein, would respectfully show unto this court the following:

                               PARTIES AND JURISDICTION

1. The Plaintiff Jeremy Fullard (“Plaintiff”) is a citizen and resident of the county of Florence,

   state of South Carolina.

2. Upon information and belief, The Defendant, Duke Energy Corporation (“Defendant”), is a

   corporation organized and existing pursuant to the laws of the state of North Carolina and does

   significant business through its agents and servants in the county of Florence for the purpose

   of carrying on its business in the state of South Carolina.

3. The incident complained of and damages described herein occurred in the county of Florence,

   South Carolina.

4. This court has jurisdiction over Defendants, above-named, and venue is proper.

                                 FACTUAL ALLEGATIONS
    4:21-cv-00318-SAL         Date Filed 02/02/21       Entry Number 1-1        Page 15 of 20




                                                                                                         ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
5. Plaintiffs incorporate by reference all preceding paragraphs and allegations of this Complaint

   as though fully set forth herein.

6. On or about December 15, 2018, Plaintiff was traveling south on Bethel Road near the town

   of Scranton, South Carolina, when he was involved in a single vehicle collision with a utility

   pole owned and operated by Defendant.

7. The vehicle in question left the roadway on the left-hand side of the road and collided with a

   utility pole owned and operated by Defendant.

8. That this collision caused both the pole and the distribution line to fall to the ground.

9. Upon information and belief the subject pole did not de-energize, as it was designed to do.

10. That upon information and belief, the utility line in question contained a Type WVE, three (3)

   phase circuit recloser, which was designed to monitor currents, trip open at a preset threshold,

   and reclose a preset number of times and remaining energized if the fault is momentary, or

   disappears.

11. That when a circuit recloser opens it is supposed to de-energize the line, on average staying

   open for roughly two seconds for each event before reclosing.

12. That if a fault is permanent, the recloser is designed to lock open after a preset number of

   operations, usually three (3) or four (4), thereby isolating the faulted section from the main part

   of the system.

13. That upon exiting the vehicle after the crash, Plaintiff inadvertently stepped on an energized

   utility line that had fallen as a result of the wreck, causing him to briefly lose consciousness

   and to sustain significant electrical injuries, including burns to his hands and feet and the loss

   of his left leg.
    4:21-cv-00318-SAL          Date Filed 02/02/21     Entry Number 1-1           Page 16 of 20




                                                                                                        ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
14. That the protective equipment failed to timely de-energize the energized current which caused

   the serious injury to Plaintiff.

15. Plaintiff was initially transported by ambulance to a hospital, where he was later transported

   to Joseph Still Burn Center in Augusta, Georgia, where he was admitted for further burn wound

   management.

16. That the utility line in which the Plaintiff unintentionally came into contact with should have

   been de-energized upon falling to the ground after the wreck.

17. As a consequence of the recloser’s failure to operate, due in part to the improper application

   of fault current pick-up settings in place to assure detection and prompt de-energization of the

   line thus interrupting a fault current, the line remained hot and energized.

18. That as a direct and proximate result of coming into contact with the Defendant’s energized

   power line, which is the subject of this action, Plaintiff endured excruciating pain and suffering

   and permanent and lasting disability, past and future medical expenses, past and future lost

   wages and lost earning capacity, loss of enjoyment of life, mental anguish, emotional distress,

   and significant disfigurement and skin loss as a result of second and third degree burns.

19. Moreover, Plaintiff was honorably discharged from the military, resulting in the lost

   opportunity of paying for higher education through the Montgomery GI Bill.

                              FOR A FIRST CAUSE OF ACTION

                                           (Negligence)

20. Plaintiff incorporates by reference all preceding paragraphs and allegations of this Complaint

   as though fully set forth herein.

21. That the National Electrical Safety Code (NESC) requires Defendant Duke Energy to operate,

   maintain, and inspect its power lines and equipment in order to ensure the safety of the public.
    4:21-cv-00318-SAL         Date Filed 02/02/21      Entry Number 1-1        Page 17 of 20




                                                                                                       ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
22. That the customary industry standards espouse that circuit reclosers should be utilized with

   due regard to their assigned ratings of voltage and continuous and momentary currents.

23. That industry standards and customary practice set forth that devices that are intended to

   interrupt fault currents shall be capable of safely interrupting the maximum short-circuit

   current they are intended to interrupt and detect the minimum fault current, and for the

   circumstances under which they are designed to operate.

24. Furthermore, the NESC espouse that phase to ground fault currents, which this was, shall be

   promptly de-energized.

25. Therefore, based on the aforementioned industry standards and customary practices, the

   Defendant owed the Plaintiff a duty to investigate and determine whether its equipment posed

   a danger to Plaintiff, as a member of the general public.

26. Defendant further owed Plaintiff a duty not only to keep safe the power lines at issue, but also

   the area around its equipment and utility pole.

27. That defendant breached the duty of care it owed to Plaintiff through it it’s negligent, grossly

   negligent, reckless, willful, and wanton acts and/or omissions, thereby creating an

   unreasonable risk of harm and danger to Plaintiff, in the following particulars, to wit:

      a. In failing to properly set the recloser at appropriate thresholds so that it would thereby

          be capable of safely interrupting the maximum short-circuit current that it was intended

          to interrupt while properly operating for the likely minimum fault current that needed to

          be detected;

      b. In failing to follow the customary rules of the NESC and the industry, specifically the

          provisions that are considered necessary for the safety of employees and the public,
    4:21-cv-00318-SAL         Date Filed 02/02/21     Entry Number 1-1        Page 18 of 20




                                                                                                      ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
          through its failure to inspect and remedy defects in the setting of its recloser, and the

          placement of its utility lines and poles;

      c. The line, as designed, did not meet the requirements of the NESC since other feasible

          placement options were available at the time the pole was positioned in its current

          location;

      d. In allowing the lines to remain in an inherently dangerous condition resulting from the

          failure to inspect, maintain, and/or repair said lines, when Defendant knew, or should

          have known of the inherently dangerous condition caused thereby;

      e. In failing to exercise the degree of care which a reasonably prudent person would have

          exercised under the same or similar circumstances; and

      f. Any other ways to be shown at trial.

28. As a direct and proximate result of the Defendant’s aforesaid negligent, grossly negligent,

   reckless, willful, and wanton acts and/or omissions, the Plaintiff has suffered bodily injuries

   which have caused and will in the future cause him to endure great physical pain, suffering,

   loss of enjoyment of life, mental anguish, and emotional distress, which have caused lost

   opportunity for funding for higher education through the Montgomery GI Bill, and have caused

   and will continue to cause the Plaintiffs to incur expenses for medical services.

    WHEREFORE, having fully set forth in Complaint above, Plaintiff prays for judgment

against Defendant in a sum sufficient to adequately compensate for actual damages, for such

punitive damages as a jury may reasonably award, for the costs of this action, and for such other

and further relief as this Court may deem just and proper.
    4:21-cv-00318-SAL       Date Filed 02/02/21    Entry Number 1-1           Page 19 of 20




                                                                                              ELECTRONICALLY FILED - 2021 Jan 04 2:23 PM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
                                                  Respectfully Submitted,


                                                  WALKER LAW, LLC
                                                  s/ William P. Walker, Jr.
                                                  William P. Walker, Jr., Esquire
                                                  SC Bar No. 005796
                                                  135 E. Main Street (29071)
                                                  Post Office Box 949
                                                  Lexington, South Carolina 29072
                                                  Telephone: (803) 359-6194
                                                  Facsimile: (803) 957-4584
                                                  Email: bw@walkerlaw.org

                                                  Attorney for Plaintiff
Lexington, South Carolina

January 4, 2021
                      ELECTRONICALLY FILED - 2021 Jan 11 10:39 AM - FLORENCE - COMMON PLEAS - CASE#2021CP2100007
Page 20 of 20
Entry Number 1-1
Date Filed 02/02/21
4:21-cv-00318-SAL
